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38201-72203 (RER)



                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION AT MEMPHIS

NATIONWIDE INSURANCE COMPANY,

                    Plaintiff,

v.                                                   No.: 2:12-cv-02186-cgc



STARNISHA HUDSON,
UVAUTAI BROOKS,
And GEICO INSURANCE COMPANY

                    Defendants.


                                 NOTICE OF VOLUNTARY DISMISSAL


        Comes now Plaintiff Nationwide Insurance Company, by and through counsel,

and gives notice that it is voluntarily dismissing its action against Defendants Starnisha

Hudson, Uvautai Brooks, and GEICO Insurance Company pursuant to Rule

41(a)(1)(A)(i).

                                        Respectfully submitted,

                                        RAINEY, KIZER, REVIERE & BELL, P.L.C.


                                        By:   /s/Russell E. Reviere
                                              RUSSELL E. REVIERE , BPR #07166
                                              JONATHAN D. STEWART, BPR #023039
                                              Attorneys for Plaintiff Nationwide Insurance
                                              Company
                                              209 E. Main Street
                                              P.O. Box 1147
                                              Jackson, TN 38302-1147
                                              (731) 423-2414
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                              CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that on June 8, 2012, a true and exact copy
of the foregoing document was forwarded via electronic means through the Court’s ECF
system to:

Melanie Stewart
Matthew Russell
Stewart Law Group
9040 Garden Arbor Drive, Suite 101
Germantown, TN 38138
Attorneys for Defendant Geico
Indemnity Insurance Co.

and to the following non-ECF participants via first claims U.S. mail, postage prepaid:

Starnisha Hudson                         Uvautai Brooks
2850 Lamar Avenue                        65 Bennett Road
Memphis, TN 38114                        Covington, TN 38019


                                  RAINEY, KIZER, REVIERE & BELL, P.L.C.


                                  By:    /s/ Russell E. Reviere
                                         RUSSELL E. REVIERE, BPR #07166
                                         JONATHAN D. STEWART, BPR #023039
                                         Attorneys for Plaintiff
